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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


    COMMONWEALTH OF
    MASSACHUSETTS, et al.,

                                      Plaintiffs,
                                                                          No. 1:25-cv-10814-WGY
          v.

    ROBERT F. KENNEDY, JR., et al.,

                                      Defendants.


                PLAINTIFFS’ NOTICE REGARDING THE JUNE 16 HEARING

         The schedule for first-phase proceedings requires plaintiffs to submit a list, by today, of

any exhibits or witnesses that plaintiffs intend to present at the June 16 hearing. See ECF No. 113,

¶2; ECF No. 119; ECF No. 123. Plaintiffs believe that all first-phase merits questions—i.e., all

questions pertaining to whether defendants lawfully adopted the Challenged Directives or

terminated plaintiffs’ grants—can be decided on the certified administrative record.1 Accordingly,

plaintiffs do not intend to introduce additional evidence or witnesses with respect to the merits of

the first-phase issues at the June 16 hearing.

         To the extent that the parties’ dispute entails “issues separate from the merits”—including

plaintiffs’ standing and the propriety of injunctive relief—“consideration of extra-record evidence

is appropriate.” Nat’l Ass’n for Gun Rights, Inc. v. Garland, 741 F. Supp. 3d 568, 600 (N.D. Tex.

2024); see ECF No. 125, at 14–15, 30–31 (challenging plaintiffs’ standing and the propriety of

injunctive relief). On those separate issues, plaintiffs propose to submit the case for decision on


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  That record must be completed. See ECF Nos. 124, 128. Additionally, plaintiffs are in the process of updating the
demonstrative spreadsheet of terminated grants, which they will produce before the hearing. As plaintiffs have
explained, the determination of the legality of any specific termination is largely ministerial, because it involves only
the question whether any given termination was pursuant to a Challenged Directive (or pursuant to any order adopting
the language of the Challenged Directives).
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the materials that have already been filed, including the exhibits accompanying the Declaration of

Chris Pappavaselio at ECF No. 77 and the exhibits accompanying plaintiffs’ reply brief at ECF

No. 101. Because defendants have not challenged plaintiffs’ submissions as a factual matter—but

instead dispute only whether that evidence satisfies the relevant legal standards—plaintiffs believe

that the existing record is sufficient to allow the Court to resolve the parties’ arguments on those

non-merits issues. Defendants have indicated, however, that they object to proceeding on a case-

stated basis as to these non-merits issues. Plaintiffs intend to meet and confer with defendants to

discuss next steps on those issues.


June 10, 2025                                    Respectfully submitted.

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